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13                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
14
                                       EASTERN DIVISION
15
       MICHAEL A. GALLEGOS,                     ) No. 5:20-cv-02232-VAP-MRW
16                                              )
             Plaintiff,                         )
17                                              )
                    v.                          ) JUDGMENT OF REMAND
18                                              )
                                                )
19     KILOLO KIJAKAZI, Acting                  )
                                                )
20     Commissioner of Social Security,         )
                                                )
21           Defendant.                         )
22
             The Court having approved the parties’ Stipulation to Voluntary Remand
23
24     Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

25     of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26     ///
27     ///
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     Case 5:20-cv-02232-VAP-MRW Document 22 Filed 09/29/21 Page 2 of 2 Page ID #:508


1            IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
2      captioned action is remanded to the Commissioner of Social Security for further
3      proceedings consistent with the Stipulation of Remand.
4
       DATED: September 28, 2021
5
6                                            HON. VIRGINIA A. PHILLIPS
7                                            UNITED STATES DISTRICT COURT JUDGE
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